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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


  BRUCE J. FALCON                                  CIVIL ACTION NO. 12-2358

 VERSUS                                            JUDGE ELIZABETH ERNY FOOTE

 OFFICER MARK VENABLE, ET AL                       MAGISTRATE JUDGE HANNA


                                   ORDER OF DISMISSAL

          The Court having been advised by counsel that the above civil action has been

 settled,

          IT IS ORDERED that the above-captioned matter be and is hereby provisionally

  DISMISSED, without prejudice to the right, upon good cause shown within ninety (90)

 days of the signing of this Order, to reopen the action if settlement is not consummated.

          IT IS FURTHER ORDERED that within ninety (90) days of the signing of this

 Order, the parties shall submit to the Court (1) a joint motion to dismiss accompanied by

  a proposed order; or (2) a Rule 41(a)(1)(ii) stipulation of dismissal signed by all parties

 who have appeared in this action. Any motion that may be pending relating to this matter

  is hereby DENIED as moot.

          The Clerk of Court is now requested to close this case.

          THUS DONE AND SIGNED in Shreveport, Louisiana, on this 21st day of March,

  2016.
